      Case 2:13-cr-00073-MHT-SRW Document 170 Filed 02/25/16 Page 1 of 4



  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )        CRIMINAL ACTION NO.
        v.                            )           2:13cr73-MHT
                                      )               (WO)
TERRANCE TYRONE SIMS                  )

                           OPINION AND ORDER

       In    2014,     Amendment     782    to    the    United     States

Sentencing Guidelines revised the guidelines applicable

to the drug-trafficking offense for which this court

sentenced        defendant      Terrence       Tyrone     Sims.            The

Sentencing           Commission       simultaneously         promulgated

Amendment 788, making Amendment 782 retroactive.                      This

court established a Retroactivity Screening Panel to

determine whether a defendant might be eligible for a

sentence reduction pursuant to 18 U.S.C. § 3582(c)(2).

       Sims’s case was submitted for review, but the Panel

was      unable      to   reach      a     unanimous     recommendation

regarding a sentence reduction due to a disagreement

over the applicable law--namely, whether the Eleventh

Circuit’s holding in United States v. Glover, 686 F.3d
   Case 2:13-cr-00073-MHT-SRW Document 170 Filed 02/25/16 Page 2 of 4




1203 (11th Cir. 2012), that a below-mandatory-minimum

sentence    cannot       be       reduced     based      on    a    retroactive

amendment       to    the    Guidelines,          was    abrogated         by     the

Commission’s subsequent promulgation of Amendment 780,

which states that a reduction should be made without

regard     to    the        mandatory       minimum        when      the     court

originally departed below it based on a substantial-

assistance motion.

       This court recently held that eligibility for a

sentence reduction is governed by Amendment 780.                                  See

United States v. Morris, No. 3:07CR261-MHT, -- F. Supp.

3d --, 2015 WL 7756138 (M.D. Ala. Dec. 2, 2015).                                   In

accordance       with       Morris,        Sims     is     eligible         for     a

reduction.           Furthermore,           the    court      finds        that     a

reduction is warranted in Sims’s case.                        The Panel found

that       there            are       no          public           safety          or

post-sentencing conduct issues that would preclude the

defendant from being considered for a reduced sentence.

       Presumably      due    to    this     court’s       prior     ruling        in

Morris,    the       Retroactivity         Screening       Panel     calculated


                                        2
   Case 2:13-cr-00073-MHT-SRW Document 170 Filed 02/25/16 Page 3 of 4




that,   if    this    court     were     to   grant     a    two-level

reduction, the reduced sentencing range would be 51 to

63 months.       On a conference call on the record on

February 24, 2016, counsel for the parties agreed that

the court should reduce Sims’s sentence by two levels

and impose a sentence at the low end of the new range,

for a sentence of 51 months.               The court agrees that

this is an appropriate reduced sentence. *

                                * * *




    *    The court raised with the parties the question
whether the amount by which Sims's amended sentence is
"comparably less" than the amended guideline range
should be calculated on the basis of levels, as in the
Retroactivity Screening Panel's recommendation (doc.
no. 164), or on the basis of percentages, as in
U.S.S.G. § 1B1.10(b)(2)(B) & cmt. n. 4(B).    See Order
(doc. no. 68).    Based on the representations of the
parties at a telephonic hearing held on the record on
February 25, 2016, the court has decided to employ the
Panel's method of calculation for the purposes of this
case, because the practical difference in the resulting
reduction will be minimal, as he should be released
immediately under either approach.        This decision
should not, however, be taken as an endorsement of the
level-wise   over   the  percentage-wise   approach  to
calculating "comparably less" sentences in all cases in
which there is a disparity between the two.
                           3
   Case 2:13-cr-00073-MHT-SRW Document 170 Filed 02/25/16 Page 4 of 4




    After conducting an independent and de novo review

of the record, it is ORDERED, pursuant to 18 U.S.C.

§ 3582(c)(2), that the sentence of imprisonment of 63

months previously imposed on defendant Terrance Tyrone

Sims,   as   reflected    in   the    last   judgment     issued,       is

reduced to 51 months.

    DONE, this the 25th day of February, 2016.

                                  _ /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
